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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                 *
 J’ADORE LLC,                                    *
                                                 *
                Plaintiff,                       *
                                                 *
                v.                               *
                                                 *   Civil Action No. 24-cv-11038-ADB
                                                 *
 JONATHAN MORGAN; JB MORGAN,                     *
 INC.,                                           *
                                                 *
                Defendants.                      *
                                                 *



                               MEMORANDUM AND ORDER


BURROUGHS, D.J.

       Plaintiff J’Adore LLC (“J’Adore”), a reseller of luxury goods based in Wakefield,

Massachusetts, brings this action against Defendants Jonathan Morgan and JB Morgan, Inc.

(together “Defendants”), J’Adore’s New Jersey-based suppliers. J’Adore says that the products

it bought from Defendants were fake, and it asserts claims under the federal Lanham Act and

Massachusetts statutory and common law. Now before the Court is Defendants’ motion to

dismiss for lack of subject-matter jurisdiction and failure to state a claim, [ECF No. 28], which,

for the reasons articulated herein, is GRANTED.
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I.       BACKGROUND

             A.      Factual Background

         The following facts are drawn from the Amended Complaint, [ECF No. 25 (“Am.

  Compl.”)]. For purposes of this motion, the Court must accept all well-pleaded facts as true.

  Lawrence Gen. Hosp. v. Cont’l Cas. Co., 90 F.4th 593, 598 (1st Cir. 2024).

         J’Adore, a Massachusetts limited liability company with its principal place of business in

  Massachusetts, operates a “luxury goods resale business” with a storefront in Wakefield,

  Massachusetts. [Am. Compl. ¶¶ 1, 8]. Jonathan Morgan is a New Jersey resident, and JB

  Morgan, Inc. is a New Jersey corporation with its principal place of business in New Jersey.

  [Id. ¶¶ 2–3]. Defendants purport to sell luxury goods, “including . . . handbags, jewelry, and pins

  from Luxury brands such as . . . Yves Saint Laurent, Gucci, Prada, and Chanel.” [Id. ¶ 9]. In

  late 2021 or early January 2022, Morgan contacted J’Adore and the parties went into business

  with one another. [Id. ¶ 10]. “From approximately January 2022 to October 2022,” J’Adore

  bought “hundreds of luxury handbags, jewelry, pins, etc.” from Defendants who provided

  J’Adore with authentication certificates for all of the products purchased. [Id. ¶¶ 11–12].

         J’Adore soon began receiving complaints from its customers, who had determined that

  the products they bought from J’Adore—and that J’Adore had bought from Defendants—were

  fakes. [Am. Compl. ¶ 13]. J’Adore did its own due diligence, [id. ¶¶ 13–15], and similarly

  concluded that Defendants had “either provided [J’Adore] with fake authentication certificates or

  initially provided [J’Adore] with genuine products to induce [J’Adore] to continue purchasing

  products from Defendants,” [id. ¶ 15]. Customers began returning products and requesting

  refunds. [Id. ¶ 16]. J’Adore, in turn, demanded refunds from Defendants “for approximately

  thirty . . . handbags that had been returned,” and was refunded $36,225 “[i]n or around October

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2022.” [Id. ¶ 17]. Since then, J’Adore has received “numerous” additional requests for refunds

from customers who bought Defendants’ products from J’Adore and “anticipates” that it will

continue to receive additional requests. [Id. ¶¶ 18–19]. J’Adore has made “several demands” for

refunds from Defendants, but these demands have been ignored. [Id. ¶ 18].

       Defendants’ conduct has caused J’Adore to suffer “losses to its business operations,

business relationships, business reputation, and lost profits,” [Am. Compl. ¶ 22], and required it

to spend “significant time” repairing its relationship with customers and rebuilding its reputation,

[id.]. Defendants continue to hold “a significant amount of money” in connection with fake

products sold to J’Adore. [Id.]. All told, J’Adore claims it has suffered damages “believed to be

in excess of $150,000,” in addition to “reputational harm . . . [that] has resulted in lost business

opportunities and diminished goodwill with existing and prospective customers.” [Id. ¶ 30]; see

also [id. ¶¶ 39, 48, 57, 64–66].

           B.      Procedural History

       J’Adore filed its initial complaint on April 19, 2024. [ECF No. 1]. On June 20, 2024,

Defendants moved to dismiss the complaint for lack of subject-matter jurisdiction and failure to

state a claim, [ECF No. 19], arguing, as relevant here, that J’Adore did not adequately allege that

the amount in controversy exceeded $75,000, as required by 28 U.S.C. § 1332, [ECF No. 20 at

7–9]. J’Adore moved to amend its complaint and opposed the motion. [ECF Nos. 21, 22]. In its

opposition, J’Adore argued that its complaint “allege[d] sufficient facts to establish . . . [an]

amount in controversy . . . in excess of the requisite jurisdictional amount,” but it offered “to

further detail the basis for its claimed damages and the amount in controversy.” [ECF No. 22 at

17–18]. Defendants opposed J’Adore’s motion to amend. [ECF No. 23]. On November 5,

2024, this Court noted that J’Adore was entitled to amend its complaint once as a matter of

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   course under Federal Rule of Civil Procedure 15(a)(1)(B) and allowed J’Adore to file an

   amended complaint. [ECF No. 24]. J’Adore filed its Amended Complaint on November 19,

   2024, asserting five claims under Massachusetts statutory and common law, as well as a claim

   for trademark infringement under the federal Lanham Act. [Am. Compl.]. Defendants again

   moved to dismiss for lack of subject-matter jurisdiction and failure to state a claim, [ECF Nos.

   28, 29], J’Adore opposed the motion, [ECF No. 32], and Defendants replied, [ECF No. 35].

II.       LEGAL STANDARD

          Defendants move to dismiss the Amended Complaint on two separate grounds: (1) lack

  of subject-matter jurisdiction under Federal Rule of Civil Procedure 12(b)(1); and, (2) failure to

  state a claim under Rule 12(b)(6). [ECF No. 28 at 1; ECF No. 29 at 6].

          “Jurisdiction is the cornerstone of every federal court action.” Woo v. Spackman, 988

   F.3d 47, 53 (1st Cir. 2021). Thus, “[w]hen faced with motions to dismiss under both 12(b)(1)

   and 12(b)(6), a district court, absent good reason to do otherwise, should ordinarily decide the

   12(b)(1) motion first.” Ne. Erectors Ass’n of the BTEA v. Sec’y of Labor, Occupational Safety

   & Health Admin., 62 F.3d 37, 39 (1st Cir. 1995) (citations omitted); see also Deniz v.

   Municipality of Guaynabo, 285 F.3d 142, 149 (1st Cir. 2002) (“When a court is confronted with

   motions to dismiss under both Rules 12(b)(1) and 12(b)(6), it ordinarily ought to decide the

   former before broaching the latter.”). However, “[w]here both federal jurisdiction and the

   existence of a federal claim turn upon whether the complaint states a federal question, the

   preferable practice is to assume that jurisdiction exists and proceed to determine whether the

   claim passes muster under Rule 12(b)(6).” Est. of Soler v. Rodriguez, 63 F.3d 45, 47 n.1 (1st

   Cir. 1995).




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           In evaluating a motion to dismiss under Rule 12(b)(1), the Court must determine whether

    the facts as alleged in the complaint, “taken at face value,” support subject-matter jurisdiction.

   Gordo-González v. United States, 873 F.3d 32, 35 (1st Cir. 2017). The Court must “accept the

    factual averments of the complaint as true, and construe those facts in the light most congenial to

    [the plaintiff’s] cause.” Royal v. Leading Edge Prods., 833 F.2d 1, 1 (1st Cir. 1987). “Dismissal

    can be justified only if it clearly appears that no colorable hook exists upon which subject matter

    jurisdiction can be hung.” Id. Even so, “a plaintiff who seeks to bring her suit in a federal forum

    bears the burden of establishing that the federal court has subject-matter jurisdiction.”

    Klimowicz v. Deutsche Bank Nat’l Tr. Co., 907 F.3d 61, 64 (1st Cir. 2018).

           In evaluating a motion to dismiss under Rule 12(b)(6), a court must similarly “accept the

    complaint’s well-pleaded facts as true and ‘draw all reasonable inferences therefrom in the

    pleader’s favor.’” Keach v. Wheeling & Lake Erie Ry. Co. (In re Montreal, Me. & Atl. Ry.,

    Ltd.), 888 F.3d 1, 6 (1st Cir. 2018) (citation omitted). “[D]etailed factual allegations” are not

    required, but the complaint must set forth “more than labels and conclusions,” Bell Atl. Corp. v.

    Twombly, 550 U.S. 544, 555 (2007), and must contain “factual allegations, either direct or

    inferential, respecting each material element necessary to sustain recovery under some actionable

    legal theory,” Gagliardi v. Sullivan, 513 F.3d 301, 305 (1st Cir. 2008) (quoting Centro Médico

    del Turabo, Inc. v. Feliciano de Melecio, 406 F.3d 1, 6 (1st Cir. 2005)). The alleged facts must

    be sufficient to “state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570.

III.       DISCUSSION

           J’Adore’s Amended Complaint invokes this Court’s federal-question jurisdiction to hear

    “civil actions arising under the Constitution, laws, or treaties of the United States,” 18 U.S.C.

    § 1331, and asks this Court to exercise supplemental jurisdiction over its state-law claims, see id.

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§ 1367(a). [Am. Compl. ¶ 5]. J’Adore also invokes this Court’s diversity jurisdiction over “civil

actions where the matter in controversy exceeds . . . $75,000, . . . and is between . . . citizens of

different States,” 18 U.S.C. § 1332. [Am. Compl. ¶ 4].

       Here, the Court has federal-question jurisdiction, but J’Adore fails to state a federal claim

under § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). That provision “creates two distinct

bases of liability: false association, § 1125(a)(1)(A), and false advertising, § 1125(a)(1)(B).”

Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 122 (2014). 1 To have a

right to sue under 15 U.S.C. § 1125(a), a plaintiff must demonstrate (1) an interest falling within

the zone of interests protected by the Act, and (2) an injury proximately caused by a violation of

the Act. Id. at 132. 2 “[T]o come within the zone of interests . . . under § 1125(a), a plaintiff




1
  15 U.S.C. § 1125(a)(1) provides:
        (1) Any person who, on or in connection with any goods or services, or any container for
        goods, uses in commerce any word, term, name, symbol, or device, or any combination
        thereof, or any false designation of origin, false or misleading description of fact, or false
        or misleading representation of fact, which—
                 (A) is likely to cause confusion, or to cause mistake, or to deceive as to the
                 affiliation, connection, or association of such person with another person, or as to
                 the origin, sponsorship, or approval of his or her goods, services, or commercial
                 activities by another person, or
                 (B) in commercial advertising or promotion, misrepresents the nature,
                 characteristics, qualities, or geographic origin of his or her or another person's
                 goods, services, or commercial activities,
        shall be liable in a civil action by any person who believes that he or she is or is likely to
        be damaged by such act.
J’Adore labels its claim “TRADEMARK INFRINGEMENT,” [ECF No. 25 at 14], so the Court
assumes that it seeks to proceed under § 1125(a)(1)(A). See Unleashed Doggie Day Care, LLC
v. Petco Animal Supplies Stores, Inc., 828 F. Supp. 2d 384, 390 (D. Mass. 2010) (“15 U.S.C
§ 1125(a) . . . creates a cause of action for infringement of unregistered marks.”).
2
  To be clear, the issue of whether J’Adore has a cause of action under the statute (sometimes
called “statutory standing”) is distinct from Article III standing, which implicates subject-matter
jurisdiction. See Lexmark, 572 U.S. at 128 n.4.
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must allege an injury to a commercial interest in reputation or sales.” Id. at 131–32. 3 “[A]

business misled by a supplier into purchasing an inferior product is, like consumers generally,

not under the Act’s aegis.” Id. at 132; see also Lewis v. Acuity Real Est. Servs., LLC, 63 F.4th

1114, 1118 (6th Cir. 2023) (noting that, under Lexmark, § 1125(a) does not extend to

“[d]istributors of [a] business’s product” who “might argue that its false advertising harmed their

reputations because they became associated with a lemon product”); The Knit With v. Knitting

Fever, Inc., 625 F. App’x 27, 41 (3d Cir. 2015) (“[I]t seems apparent that TKW, a yarn retailer

who alleges to have been misled by its supplier into purchasing mislabeled yarn, is not within the

zone of interests protected by the Lanham Act.”).

       J’Adore cannot bring an action under 15 U.S.C. § 1125(a) because it has not sufficiently

pled an injury to its “reputation and sales,” as opposed to mere consumer injury resulting from

“purchasing an inferior product.” Lexmark, 572 U.S. at 132; see also Kam IV, Inc., 2017 WL

3083166, at *1 (dismissing Lanham Act unfair-competition claim because “the complaint does

not adequately allege that Plaintiff suffered a concrete injury to its commercial interests or

reputation as a result of the alleged infringement”); Ahmed, 28 F. Supp. 3d at 91 (dismissing

Lanham Act false-association claim where plaintiff “asserts the legal conclusion of injury, but




3
  Lexmark involved a false-advertising claim brought under § 1125(a)(1)(B), but courts have also
applied Lexmark’s test to false-association claims brought under § 1125(a)(1)(A). See, e.g.,
Kam IV, Inc. v. D’Onfro, No. 16-cv-12079, 2017 WL 3083166, at *1 (D. Mass. July 19, 2017)
(applying Lexmark to “[u]nfair [c]ompetition” claim brought under § 1125(a)(1)(A)); Ahmed v.
Hosting.com, 28 F. Supp. 3d 82, 90 (D. Mass. 2014) (“assum[ing] without deciding that
Lexmark applies in false association claims”). But see Quentin J. Ullrich, Is This Video Real?
The Principal Mischief of Deepfakes and How the Lanham Act Can Address It, 55 Colum. J.L.
& Soc. Probs. 1, 31 (2021) (noting that “[c]ourts are split on whether Lexmark . . . applies to
Section 43(a)(1)(A) false association claims”). Neither J’Adore nor Defendants challenge the
application of Lexmark’s test here, so the Court will assume it applies to J’Adore’s false-
association claim.
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states no facts establishing either a commercial interest in the mark or a commercial injury

caused by the alleged infringement”). J’Adore asserts that Defendants’ “false and misleading

representations . . . damage[ed] Plaintiff’s reputation in the marketplace as a trusted source for

authentic luxury goods, caus[ed] financial loss through refunds, diminished sales, and lost

customer confidence, and undermin[ed] Plaintiff’s business relationships with consumers who

now associate Plaintiff with counterfeit goods.” [Am. Compl. ¶ 64]; see also [id. ¶ 22]. J’Adore,

however, cannot sue under the Lanham Act for being “misled by [Defendants] into purchasing

an inferior product.” Lexmark, 572 U.S. at 132. And J’Adore “states no facts” to back up its

conclusory assertions that it suffered injury in terms of sales or reputation. Ahmed, 28 F. Supp.

3d at 91. 4 Accordingly, J’Adore has not established a right to sue under 15 U.S.C. § 1125(a).

       Defendants argue that J’Adore’s failure to state a Lanham Act claim means the Court

lacks federal-question jurisdiction. See [ECF No. 29 at 5–8]. But that puts the cart before the

horse. “Dismissal for lack of subject-matter jurisdiction because of the inadequacy of the federal

claim is proper only when the claim is ‘so insubstantial, implausible, foreclosed by prior

decisions of this Court, or otherwise completely devoid of merit as not to involve a federal

controversy.’” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 89 (1998) (quoting Oneida

India Nation of N.Y. v. County of Oneida, 414 U.S. 661, 666 (1974)); see also Toddle Inn

Franchising, LLC v. KPJ Assocs., LLC, 8 F.4th 56, 62 (1st Cir. 2021) (“[O]nly the most extreme



4
  Although J’Adore argues that Belmore LLC v. Bayer Consumer Care AG, 819 F.3d 697 (4th
Cir. 2016), shows that it falls within the Lanham Act’s “zone of interests,” [ECF No. 32 at 7],
Belmore is distinguishable. There, the plaintiff, the owner of a foreign trademark, alleged that
the defendant, who owned the same mark in the United States, “convey[ed] to consumers a false
association with [plaintiff’s] product” and “also deceiv[ed] distributors and vendors,” causing the
plaintiff to “lose[] sales revenue.” Belmore, 819 F.3d at 711. J’Adore’s claim—brought by a
reseller rather than a competitor—and the specificity of its allegations are a far cry from those in
Belmore.
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cases will flunk this substantiality test.”). The distinction between a dismissal for lack of

subject-matter jurisdiction under Rule 12(b)(1) and dismissal for failure to state a claim under

Rule 12(b)(6) matters. In this instance, if the Court dismisses J’Adore’s federal claim under

Rule 12(b)(1), it must also dismiss J’Adore’s pendent state-law claims, absent an independent

basis for subject-matter jurisdiction. See Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006)

(“[W]hen a federal court concludes that it lacks subject-matter jurisdiction, the court must

dismiss the complaint in its entirety.”). Conversely, if the Court dismisses J’Adore’s federal

claim under Rule 12(b)(6), it “retains discretion to exercise supplemental jurisdiction, pursuant to

28 U.S.C. § 1367,” over J’Adore’s pendent state-law claims. Id.; see also Roche v. John

Hancock Mut. Life Ins. Co., 81 F.3d 249, 257 (1st Cir. 1996) (“In deciding whether or not to

retain jurisdiction on such an occasion, the trial court must take into account concerns of comity,

judicial economy, convenience, fairness, and the like.”).

       Defendants move to dismiss J’Adore’s Lanham Act claim under both Rule 12(b)(1) and

Rule 12(b)(6), but they do not address whether that claim was “so insubstantial, implausible,

foreclosed by prior decisions of this Court, or otherwise completely devoid of merit as not to

involve a federal controversy.” Steel Co., 523 U.S. at 89 (citation omitted). Here, Lexmark does

not squarely “foreclose[]” J’Adore from bringing a Lanham Act claim. Steel Co., 523 U.S. at 89

(citation omitted). Instead, J’Adore has merely failed adequately to allege commercial injury,

which is a prerequisite for bringing a claim under 15 U.S.C. § 1125(a). 5 The Court thus finds

that J’Adore’s federal claim fails under Rule 12(b)(6), and therefore, in its discretion, declines to

exercise supplemental jurisdiction over J’Adore’s state-law claims under 28 U.S.C. § 1367(c).



5
  The parties’ briefing is limited to the threshold issue of statutory standing and does not address
the merits of J’Adore’s Lanham Act claim, on which the Court expresses no view.
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See Roche, 81 F.3d at 257 (“[D]ismissal may sometimes be appropriate if the federal-question

claim is eliminated early in the proceedings.”).

        That leaves diversity jurisdiction. Defendants do not contest J’Adore’s claim that the

parties are diverse, see [ECF No. 2 (disclosure statement)]; [Am. Compl. ¶¶ 1–4], 6 but they do

argue that J’Adore has failed to establish that the amount in controversy exceeds $75,000. [ECF

No. 29 at 9–10]. Defendants are correct.

        “The party invoking diversity jurisdiction bears the burden of establishing that the

amount-in-controversy requirement is satisfied.” Anderson v. Vagaro, Inc., 57 F.4th 11, 14 (1st

Cir. 2023). “The critical time for determining the existence vel non of the amount in controversy

is the inception of the suit, i.e., the time of filing.” Corrada Betances v. Sea-Land Serv., Inc.,

248 F.3d 40, 45 (1st Cir. 2001); see also Royal Canin U. S. A., Inc. v. Wullschleger, 604 U.S. 22,

38 n.8 (2025) (reaffirming time-of-filing rule with respect to amount in controversy). Ordinarily,

“a plaintiff’s general allegation that the dispute exceeds the jurisdictional minimum is

sufficient,” unless it “appear[s] to a legal certainty that the claim is really for less than the

jurisdictional amount.” Anderson, 57 F.4th at 15 (first quoting Stewart v. Tupperware Corp.,

356 F.3d 335, 338 (1st Cir. 2004); and then quoting Dep’t of Recreation & Sports of P.R. v.

World Boxing Ass’n, 942 F.2d 84, 88 (1st Cir. 1991)). When challenged, however, the plaintiff




6
  J’Adore asserts that “there is diversity of citizenship between the Plaintiff and the Defendants,”
[Am. Compl. ¶ 4], but the Court cannot tell whether this is the case. For purposes of diversity
jurisdiction, the citizenship of J’Adore, a limited liability corporation, is determined by the
citizenship of all its members. Berkley Nat’l Ins. Co. v. Atl.-Newport Realty LLC, 93 F.4th 543,
549 (1st Cir. 2024). Neither J’Adore’s Rule 7.1 statement nor the Amended Complaint identifies
the members of J’Adore and their citizenship. Since the Court concludes that J’Adore fails to
meet the amount-in-controversy requirement, it need not determine whether the parties are
“completely diverse,” as required by 18 U.S.C. § 1332, id. However, if J’Adore chooses to
amend its complaint, it should address this deficiency and file an amended Rule 7.1 statement.
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must “allege with ‘sufficient particularity’ facts that in some way support the contention that

there is more than $75,000 at stake.” Abdel-Aleem v. OPK Biotech LLC, 665 F.3d 38, 42 (1st

Cir. 2012) (quoting Dep’t of Recreation & Sports of P.R., 942 F.2d at 90). The plaintiff can do

this by “amend[ing] the complaint or submit[ting] additional documentation, such as affidavits,

medical reports, or interrogatories,” but “merely reiterating general descriptions of damages is

insufficient, particularly when a plaintiff is put on notice of the complaint’s deficiencies by a

FRCP 12(b)(1) motion to dismiss.” Anderson, 57 F.4th at 15; see also id. at 16 (faulting plaintiff

for “fail[ing] to provide any numeric substantiation or evaluation establishing that her claims

exceeded $75,000”); Abdel-Aleem, 665 F.3d at 43 (“[W]e expect something more than bald

statements and round numbers.”); DeCastro v. Abrams, No. 22-cv-11421, 2023 WL 4472381, at

*3 (D. Mass July, 11, 2023) (dismissing counterclaims where defendant “d[id] not provide any

specific calculation or estimate of monetary damages resulting from DeCastro’s conduct”).

       Here, J’Adore’s Amended Complaint, which follows a challenge by Defendants to the

sufficiency of J’Adore’s jurisdictional allegations, [ECF No. 20], fails to establish with

“sufficient particularity” that the amount in controversy exceeds $75,000. Abdel-Aleem, 665

F.3d at 42. The Amended Complaint baldly alleges damages “in excess of $150,000” for each of

its five state-law claims, but it fails to provide any detail to support this figure. See [Am. Compl.

¶¶ 30, 39, 48, 52, 57]. Moreover, J’Adore concedes that “[i]n or around October 2022,”

Defendants refunded J’Adore $36,225 “for approximately thirty (30) handbags that had been

returned,” [id. ¶ 17], and does not specify, even approximately, how many additional returns or

refund requests it has received from customers since that time, referring vaguely to “hundreds”

of transactions with Defendants, [id. ¶ 11], “numerous requests for refunds,” [id. ¶ 19], and “a




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   significant amount of money” that is purportedly being withheld, [id. ¶ 22]. Under Anderson

   and Abdel-Aleem, these allegations are not enough.

          J’Adore resists this conclusion, in part, by pointing to customers’ continued “return

   requests” and J’Adore’s anticipation of future returns. [ECF No. 32 at 8]. But such post-filing

   (and, frankly, speculative) developments are irrelevant to the analysis. Corrada Betances, 248

   F.3d at 45. J’Adore emphasizes its “significant reputational harm,” [ECF No. 32 at 9], but also

   “provide[s] no substantiation for or valuation of” this harm. Abdel-Aleem, 665 F.3d at 41–42

   (rejecting as insufficient allegations that plaintiff had suffered harm “including but not limited to

   his reputation, his emotional tranquility, and privacy”); cf. Greenspan v. MasMarques, No. 23-

   cv-10134, 2024 WL 1258062, at *6 (D. Mass. Mar. 25, 2024) (finding sufficient a business

   founder’s allegations of reputational and business injury that included allegations of a specific

   decline in funding available to his company). Because J’Adore has failed to establish that it

   satisfies the amount-in-controversy requirement of 28 U.S.C. § 1332, this Court lacks diversity

   jurisdiction over J’Adore’s state-law claims.

IV.       CONCLUSION

          For the foregoing reasons, Defendants’ motion to dismiss the Amended Complaint under

   Rules 12(b)(1) and 12(b)(6) is GRANTED. The Amended Complaint is DISMISSED without

   prejudice.

          SO ORDERED.

   July 7, 2025                                                  /s/ Allison D. Burroughs
                                                                 ALLISON D. BURROUGHS
                                                                 U.S. DISTRICT JUDGE




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